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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  MONIKA PUCIATY,                              )
                                               )
                      Plaintiff,               )
                                               )
        vs.                                    )   Case No.: 1:20-cv-526-JPH-DLP
                                               )
  LAWRENCE M. HEIL,                            )
  SOCIETY OF ST. VINCENT DE PAUL,              )
  ARCHDIOCESAN COUNCIL                         )
  OF INDIANAPOLIS, INC.,                       )
  ABDUL A. ZALMAI and                          )
  1137254 ONTARIO LTD d/b/a                    )
  VIRDI TRUCKING COMPANY,                      )
                                               )
                      Defendants.              )


                                        AMENDED
                                   NOTICE OF SETTLEMENT

       Defendants, Abdul A. Zalmai and 1137254 Ontario Ltd d/b/a Virdi Trucking

 Company, by counsel, hereby notify the Court that all parties to this action, Plaintiff,

 Monika Puciaty, and Defendants, Lawrence M. Heil, Society of St. Vincent de Paul

 Archdiocesan Council of Indianapolis, Inc., Abdul A. Zalmai and 1137254 Ontario Ltd.

 d/b/a Virdi Trucking Company, have reached a settlement. The parties require time to

 finalize the settlement documents. A Stipulation of Dismissal and Order thereon will be

 forwarded to the Court as soon as possible.


                                                   Respectfully submitted,

                                                   WHITTEN LAW OFFICE

                                                   s/Jason J. Hoy
                                                   Jason J. Hoy/20931-49
                                                   Christopher R. Whitten/20429-49
                                                   Counsel for Defendants, Abdul A. Zalmai
                                                   and 1137254 Ontario Ltd d/b/a Virdi
                                                   Trucking Company
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                               CERTIFICATE OF SERVICE

        I hereby certify that on April 27, 2020, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent to the following parties by operation of
 the Court’s electronic filing system. Parties may access this filing through the Court’s
 system.

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                                                  s/Jason J. Hoy
                                                  Jason J. Hoy


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